Case 2:21-cv-00563-JNW   Document 471-16   Filed 06/26/25   Page 1 of 2




             EXHIBIT 16
                Case 2:21-cv-00563-JNW            Document 471-16              Filed 06/26/25    Page 2 of 2



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                   Cheryl Florio
                   Director of ADR Operations
                   American Arbitration Association
                   16 Market Square, 1400 16th Street, Suite 400
                   Denver, Colorado 80202
                   CherlyFlorio@adr.org

                                RE:       Lally v. Valve Corp.,
                                          Mass Arbitration Case No. 01-23-0005-8758

                   Dear Ms. Florio:

                           We write on behalf of Respondent Valve Corporation (“Valve”) with respect
                   to the individual arbitration brought by Mason LLP on behalf of Ryan Lally, which is
                   part of a mass arbitration under case number 01-23-0005-8758. Valve understands that
                   Mr. Lally would now like to proceed with his arbitration before the AAA, which is a
                   reversal of his prior position. Based on Valve’s records it appears that Mr. Lally has
                   not accepted the current Steam Subscriber Agreement that requires all claims to
                   proceed in court. Valve hereby requests an invoice for the Case Management Fees for
                   Mr. Lally’s individual arbitration only.

                            Valve reserves all rights with respect to all other arbitrations, including the
                   other arbitrations that are part of the mass arbitration with case number 01-23-0005-
                   8758, on the grounds that (i) the arbitration agreement in the now-superseded Steam
                   Subscriber Agreement has been held by a AAA arbitrator to be unenforceable and
                   (ii) there is no longer an agreement to arbitrate between Valve and its customers.

                                                                        Sincerely,

                                                                        /s/ Michael W. McTigue Jr.

                                                                        Michael W. McTigue Jr.
                  cc:     All counsel of record
